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15                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
16

17 In re Ex Parte Application of DEKA
     INVESTMENT GMBH,
18

19                                  Applicant,
20
   For an Order Granting Leave to Obtain                 Misc. Action No.:
21 Discovery from BYRNE & NIXON LLP,
                                                        EX PARTE APPLICATION
22
                                    Respondent,         FOR ORDER PURSUANT
23                                                      TO 28 U.S.C. § 1782
     For Use in a Foreign Proceeding, Pursuant
24
     to 28 U.S.C. § 1782
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            By its counsel, the applicant Deka Investment GmbH (“Deka” or the
28
      “Applicant”) respectfully makes this ex parte Application for an order pursuant to
                                                 1
                 EX PARTE APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782
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 1    28 U.S.C. § 1782, authorizing the Applicant to serve a subpoena for the production
 2    of documents on Byrne & Nixon LLP (“Byrne & Nixon” or the “Respondent”) for
 3    use in a foreign litigation (the “Application”). This Application is supported by a
 4    Memorandum of Law, Declaration of Alice Y. Lee, Esq., dated May 16, 2024 (“Lee
 5    Declaration”), and exhibits thereto, and Declaration of Marc Schiefer, Esq., dated
 6    May 16, 2024, and exhibits thereto, all filed concurrently herewith. A proposed
 7    order is submitted herewith and a subpoena (the “Subpoena”) is attached to the Lee
 8    Declaration as Exhibit H.
 9          The Applicant seeks to serve a subpoena for the production of documents on
10    Byrne & Nixon for use in civil damages proceedings that the clients of Grant &
11    Eisenhofer P.A. filed against Volkswagen AG (“Volkswagen”) and Porsche
12    Automobil Holding SE (“Porsche”), both German corporations, in the Regional
13    Courts and the Higher Regional Courts of Braunschweig and Stuttgart, Germany
14    (collectively, the “German Actions”).
15          The German Actions were initiated against Volkswagen on March 16, 2016
16    and September 18, 2016, in the Regional Court of Braunschweig (Landgericht
17    Braunschweig) and against Porsche on September 18, 2016, in the Regional Court
18    in Stuttgart (Landgericht Stuttgart). By order dated March 8, 2017, the Higher
19    Regional Court of Braunschweig designated Deka as the Model Plaintiff against
20    Volkswagen and Deka's case as the model case.
21          This Application meets the requirements of Section 1782. The Applicant is a
22    plaintiff in the German Actions and thus an interested party for purposes of Section
23    1782, and the discovery it seeks is for use in the German Actions. The Applicant
24    has filed its application “in the district court in which [the] person resides or is
25    found,” as Byrne & Nixon has its offices in Los Angeles County and can thus be
26    found in this district. Neither Byrne & Nixon nor its former client James Robert
27    Liang is a party or anticipated party to the German Actions, which places them
28    beyond the German courts’ jurisdictional reach. Further, the Applicant is not using

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                 EX PARTE APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782
     Case 2:24-mc-00067 Document 1 Filed 05/21/24 Page 3 of 4 Page ID #:3



 1    this Application to circumvent foreign proof-taking restrictions, and the German
 2    courts are receptive to U.S. court assistance. The discovery sought is highly relevant
 3    to the German Actions and is neither burdensome nor unduly intrusive. See Intel
 4    Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 262-65 (2004). Granting this
 5    Application would also further the twin aims of Section 1782 of providing an
 6    efficient means of assistance to participants in international litigation and
 7    encouraging foreign countries to provide similar means of assistance to U.S. courts
 8    and litigants.
 9          Section 1782 applications are commonly made and granted ex parte and –
10    after the application is authorized by the court and issued by the applicant – any
11    privilege issues or other challenges can be raised by the respondent and resolved via
12    a motion to quash pursuant to Fed. R. Civ. P. 45(d)(3), “which mitigates concerns
13    regarding any unfairness of granting the application ex parte.” In re Align Tech.,
14    Inc., No. 2:22-MC-00236-SB-MAA, 2022 WL 18460717, at *3 (C.D. Cal. Dec. 15,
15    2022), report and recommendation adopted, No. 2:22-MC-00236-SB-MAA, 2023
16    WL 405316 (C.D. Cal. Jan. 24, 2023).
17          WHEREFORE, the Applicant respectfully requests that this Court enter an
18    Order:
19          1.     granting the Application for discovery and permitting the issuance of a
20    subpoena substantially in the form of Exhibit H to the Lee Declaration submitted
21    herewith;
22          2.     directing Byrne & Nixon to produce the documents in its possession,
23    custody, or control, as requested in Schedule A to the Subpoena; and
24          3.     granting such other and further relief as the Court deems appropriate.
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                  EX PARTE APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782
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 1    Dated: May 21, 2024
      Los Angeles, California
 2                                          Respectfully submitted,
 3

 4                                     BY: /S/ JASON H. KIM
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                 EX PARTE APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782
